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KAREN HARRXS, @/J(§‘” " ) o j 9 M
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Plainriffs, GC}'§\ ) \//
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vs. C ) No, /g©?€? (
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AMERICAN GENERAL LIFE z
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and AMERICAN INTERNATIONAL )
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Defendanm. )
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v
coMPLAINT

 

Comes the Plaintiff, Kazen Harris, by and through counsel and for her cause of action

mates as follower

Parties

 

1. Thc Plaintiff, K.aren Harris is a resident of K.nox County Tennessee, residing at
721 Walker Springs Rd, Apt F~£, Knoxville, TN 37929.

2. The Defendant mexican Gencral Life Insurance Companies, LLC (hereinafcer
“AGLI”) at all relevant times was transacting business in Tennesscc and specifically with
residents of Knox Cotmty, Tennessee. Whenever in this suit it is alleged that the Defendant
AGLI did any act or thing or failed to do any act or thing, it is meant that the officers, agents
and/or employees of said Defendant perfonned or participated in or failed to pazform such acts
or things while in the course and scope of their employment or agency relationship With said
Defendant. Defendant AGLI may be served With process via its registered agent Corporation

Sewice Company, 2903 Poston Ave, Nashville, TN 379203.

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3. The Defendant American lntemational Group, Inc*, Glereinaficr "‘AIG") at ali
relevant times was mac/ting business in Tennessee, and speci§caliy smith residents of Kno‘x
Co\mty, Tennessec. Whenever in this suit it is allch that tbs Defendam, AIG, did any act or
thing or failed to do any act or thing, it is meant that the officers, agents and!or employees of said
Defenclant performed or participated in or failed to perform such acts or things while in the
course and scope of their employment or agency relationship with said Defendam, Defendam‘.
AIG may be served with process Via its registered agent Michael L. Myers, 134 Coumy Road 25,
Riceville:, 'I`N 37370.

4. Defendam AIG is believed to be the controlling entity and/or alter ego of
Defendant AGLI, and it is believed that AGLI was operated as a mere instrumentality of AIG
and as such, A.GI is responsible for any liability and damages that flow from the misconduct of
either Defendant.

5. The Plaintitf sues the Defendams for common law, statutory and other
compensatory and punitive damages.

6. At all material times, the events and transactions described herein occurred in

Knox Coumy Tennessee.

Facts and §acgg§oug§_

7. The Plaintiff, Karen Harris, is the widow of the late Rick Hanis, deceased

8. On or about October 20, 2009 Rick Harris, deceased, purchased an Acoidental
Death Insuxance Pc)licy from the Defendants, contract number YMC0133479, which was to pay
out $200,000.00 in the event of Mr. Han“is’ accidental death to his named beneficiary his wife

Ka:en Harris. (See copy of said conn~act, attached hereto as Exhibit A.)

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9. Upc;u information and belief, at the time ofthc abcvc~refcrcnced transaction, the
Dcfcndants knew or reasonably should have know that the late Ricl< Ha;m'is was prescribed
various mcdications, inc,lutlizctgg but not limited tc, hydrccodonc and methadonc, for a prior
catastrophic work injury that left him in a disabled and physically compromised mtc.

10. Gn or about Fcbruary 13, 2010 M;t. Harris expired in his sleep, and thereafter was
found dead in his home in Kncx Cotmty Tcnncssee. Art autopsy deemed his cause of death to be
an accidental overdose relating to medications prescribed to him by his pain management
physician(s).

l l., Pursuant to the terms ct the policy, a timely claim for benefits was submitted
by/or on behalf of Ksren Harris, which the Dcfcndams wongfully, and in bad faith, denied on or
about Novcmbcr 4, 2010,

121 fn explaining their dcnial, the Dcfcndants claimed that Mr. Hatris’ death Was
excluded from the policy coverage as it Was not due to “accidcntal injury,” within the meeting of
the policy, and that an exclusion pertaining to the “misusc” of prescription drugs additionally
prevented them from paying out the benefits to the PlaintithaIen Harris, the designated
benc§ciary under the policy

13. To date, the Dcfendants have neither provided Karen Ham's with amy
investigative documentation or evidence supporting that Mr. Hanis’ death was the result of the
intentional “misusc” of his prescription drugs, and there appears no exclusion in the policy
pertaining to accidental deaths caused by prcsctiption mcdlcations, aside from instances where

thc prescription drugs were intentionally “misuscd.”

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14. Thc Defendants are guilty of breach of common 'I`he Dofendants entered into a
conwctual relationship with the late Rick liarris for the benefit of his intended third-parry
bcnefioia:y, the Plaimiff, Karen Harris. Pursuant to said agreement, the Dofendants promised the
late R.ick Harris thaz in the event of his accidental death that they would pay death benefits to his
desig:oaxecl beneficiary the Plaintiil" Karen Hanis. T‘l:le late Riok Han“is paid regular premiums
upon the policy and the Dofendam failed to pay the benefits bargained for to the designated
beneficiary the Plaintifl;`, Kaxen Harris, which was the essential element of the late Rick Harris’
bargain 'l'hus, the Defendants are guilty of breaching its contract with the late Riok Harris,
Which he entered for the benefit of the Plaimiff, Karen Harris.

15. The Defendanw breached the implied covenant of good faith and fair dealing
Upon entering into a contractual agreement with the late Rick HarriS for benefit of the Plaintiff
l<laren Han:is, the Defendants were under a duty of good faith and fair dealing ’I`his duty was
breached when the Defendants denied the Plaintiff’s claim for benefits Without any evidence that
thc late R.ick Ham's intentionally “misused” his prescription medication$. The late Rick Harris
was misled by the Defenclants into believing they would uphold their end of the bargain and pay
the designated bcneticiary, Karen Harris, death benefit prooccds, following the accidental death
of Riok Harris. As a result of said breach, the Plaimifl`, Karen Harris, has been clamagecl.

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16. "l“`nc Defendams’ denial of benefits described above was either negligomt, grossly

negligent, or worse, pan of a sustained pattern of fraud and corruption and in bad faith within the

meaning of Temnessee Code Ann. §56-7-105.

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17. A.s a result of said conduct of the Defezzdant$, fha Plaimitf, K.aren Harris, has been
dmged as she Was the intended thiz~d~party beneficiary of the contract betwe~en the Defendants
and the late Rick Hemis.

'I`e, e amer Pr t t ct

18. 'l”he Plaintif£', Karen l-Iarris, as the designated beneficiary of the agreement
entered into between the Defendants and the late Rick Harris, is a consumer as deemed by
Tennessee Codc Ann. § 47»18-103(2). 'l`he Defendams are a person in the commerce of selling
goods to the public amf engaged i:a consumer traxmactions Witb the Plaintifi` Witb respect to the
underlying purchase described hcrein, as defined by Tennessee Cc)cle Ann. § 47-18-103.

19. In representing through their agents that the Plaintii’f liaan Han‘is’ claim to the
policy proceeds Was denied due to the manner of the late Rick Harris‘ death, the Defendant
engaged in unfair, deceptive and fraudulent trade practices as defined by 'l`exmcssee Code Ann. §
47~13»104. As a result of said practices, the Plaimiff, Karen Harris, has been damaged

20. Upon information and belief, the Defendant’s breach of duty and fraudulent
dealing toward the Plaimiff, Kan:n Harris, is not isolated or solitary, but ramer is repeated,
continuous and snstained.

21. The Plaintiff, Karen Harris, is entitled to an award of treble damages and
reasonable attorney fees and costs in this cause as provided by Tenncssee Code AmL § 47-18-
109.

PREMISES CONSIDERED, the Plaintiff, Karen Harris, prays as follows;

1. That this Complaint be served upon Defendants requiring them to answer within the

time prescribed by law.

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2. That the Plaintiff, Karen Harris, have a judgment against Defendants for the beneth of
the bargain sought by the late R.ick Harris when he entered the aforesaid agreement Wit.’u the
Defendants.

3. "I`hat the Plaintiff; Karen Han'is, be awarded additich damages as determwcd by the
Court and!or the Jury for the suffering caused by the Defendants and for being dealt with in bad
faith and in such a negligent, rcckless, fraudulent, and deceptive faghion.

4. 'Ihat any damages awarded to the Plaintiff, Karen Harris, be trebled and she also
receive judgment against the Defendants for reasonable attorney fees and costs for bringing this
action as authorized by the Tcnnessee Consumer Prc>tection Act.

5. That punitive damages be awarded against the Def`endam in the amount of
$200,000.00 or greater due to the Defendant’s willful and deliberate deception and fraud in this
matter

6. That the Plaintiff, Karcn Harris, respectfillly demands any other relief to which she
may be entitled

WHER}§J!B'ORI£Z1 Plaintiff respectfully demands a judgment for compensatory damages of
at least $200,000.00 and for pmlitive damages ofat least 3200,000.00, the smmtory bad faith

penalty and any other relief to which she is entitled

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R@Sp¢@mmy submitted this (,;» day of <SA»LM/ ,2011.

BILL H{)TZ & ASSOCIATES, P.C.

By:

 

    

  

ine, TN 37919
637-3232

QST BOND

I am the surety for the costs of this cause in accord with T.C.A. §20~12-120

 

/'\ J_,,,....
James USKCBWG)

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